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JACK C. REED,
Petitioner,

vs. No. 05-2024*Ml/V

'I‘.C. OUTLAW,

Respondent.

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ORDER DENYING PETI’I'ION PURSUANT TO 28 U.S.C. § 2241
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH
AND
NOTICE OF APPELLATE FILING FEE

 

Petitioner Jack C. Reed, Bureau, of Prisons inmate
registration number 06844-018, an inmate at the Federal
Correctional Institution in Memphis, filed, a prg _§§ petition
pursuant to 28 U.S.C. § 2241 on January 4, 2005. The Court issued
an order on January 19, 2005, directing the Petitioner, within
thirty (30) days, to file an in fg;ma pauperis affidavit or pay the
habeas filing fee. Reed paid the habeas filing fee on February 3,
2005.

On September 18, 1981, Reed and a codefendant, Carlos
Lehder-Rivas were indicted in the United States District Court for
the Middle District of Florida. Reed Was named only in the first

count of the eleven-count indictment, which Charged both defendants

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with a conspiracy to import cocaine into the United States, in
violation of 21 U.S.C. § 963. Reed was arrested in Panama on
February 6, 1987, and was extradited to the United States. After a
seven-month jury trial, the jury returned its verdict on May 13,
1988, finding Reed guilty on Count I. The trial court conducted a
sentencing' hearing' on. July 20, 1988, at which time Reed was
sentenced to fifteen {15) years imprisonment and a $25,000 fine.
The United States Court of Appeals for the Eleventh Circuit
affirmed. United States v, Lehder-Rivas, 955 F.2d 1510 (11th Cir.),
cert. denied sub nom., 506 U.S. 924 (1992) (“Reed I”). The petition
does not disclose any subsequent efforts by Reed to challenge this
conviction and sentence, which are not the subject of this
petition.

Subsequently, Reed and multiple codefendants were
indicted in a twelve-count indictment returned in the Middle
District of Florida on February 29, 1989 (“Reed II”). The first
count charged Reed and other defendants with conspiring to
distribute five or more kilograms of cocaine from 1974 through
February 1989, in violation of 21 U.S.C. § 963. Count seven charged
Reed with conducting a continuing criminal enterprise (“CCE”) from
January 1978 through February 1987, in violation of 21 U.S.C. §
848. After a six-week trial, Reed was convicted on counts one and
seven. Reed.was sentenced to life imprisonment on count one, to run

concurrently with the previously imposed fifteen-year term. He was

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also fined two million dollars ($2,000,000). The trial court also
sentenced. Reed to a consecutive life tern1 on the CCE charge.
Judgment was entered on January 12, 1990. The United States Court
of Appeals for the Eleventh Circuit affirmed Reed’s conviction and
sentence on count one, but reversed his conviction on the CCE
charge on double jeopardy grounds because of his conviction in B§ed
;. United States v. Reed, 980 F.2d 1568 (11th Cir. 1993).
According to the petition, Reed filed a motion pursuant
to 28 U.S.C. § 2255 on an unspecified date with respect to his
remaining life sentence in Reed II, which was denied without an
evidentiary hearing or the appointment of counsel. Reed does not
disclose whether he appealed that decision. He also does not
disclose any other efforts to challenge his conviction.and sentence
in Reed II. However, a review of the district court docket sheetl
indicates that Reed filed what he characterized as a option to
reduce an illegal sentence on February 14, 1997. The district court
denied that motion on July 17, 1998. The United States Court of
Appeals for the Eleventh Circuit dismissed the appeal as frivolous
in an unpublished opinion issued on May 23, 2000. United States v.

Reed, No. 98-3145 (11th Cir. May 23, 2000).

 

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Only entries after February 14, 1995, are available through PACER
and, therefore, the Court is unable to ascertain any previous challenges filed
by Reed to his 1990 conviction and sentence. Moreover, the text of documents
filed, and orders issued, prior to December 1, 2004, are unavailable to remote
users.

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Reed also filed a motion pursuant to 28 U.S.C. § 2255 on
April 11, 1997. The district court denied the motion in an order
entered on July 22, 1998, and denied a certificate of appealability
on September 16, 1998. The Eleventh Circuit denied a certificate of
appealability, Reed v. United States, No. 98-3147 (11th Cir. Apr.
7, 2000), and denied reconsideration of that decision on June 21,
2000. Reed v. United States, No. 98-3147 (11th Cir. June 21, 2000).

On June 27, 2003, Reed filed a option to vacate his
criminal judgment in Reed II pursuant to Fed. R. Civ. P. 60(b)(4).
The trial court denied the motion on December 4, 2003, without
prejudice to its being brought in a second or successive § 2255
motion. Reed filed a notice of appeal, and he later filed a notice
withdrawing his appeal. The Eleventh Circuit dismissed the appeal
for failure to pay the appellate filing fee. United States v. Reed,
No. 03-16566-G (11th Cir. Jan. 22, 2004).

On September 8, 2004, Reed filed a option seeking to
modify his criminal judgment in Reed II. The district court denied
the motion on October 25, 2004. Reed filed a motion for
reconsideration on November 8, 2004, which was denied on November
12, 2004. Reed’s appeal was dismissed for failure to pay the
appellate filing fee. United States v. Reed, No. 04-16352-1 (11th
Cir. Feb. 17, 2005).

Reed filed a motion, which was docketed as another § 2255

motion, in the Middle District of Florida on February 23, 2005,

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which is currently pending. That motion seeks relief from the
sentence imposed in Reed II on the basis of the Supreme Court's
decisions in Apprendi v. New Jersey, 530 U.S. 466 (2000), Blakely
v. Washington, 124 S. Ct. 2531 (2004), and United States v. Booker,
125 S. Ct. 738 (2005).

Reed has now filed a petition pursuant to 28 U.S.C. §
2241. Reed appears to contend that his 1990 life sentence for
conspiring to distribute cocaine is void as duplicative of his 1990
CCE conviction, which was subsequently reversed by the Eleventh
Circuit on double jeopardy grounds because of his conviction in
Reed I. Reed asserts that the purported conflict between the two
1990 convictions was not resolved by the reversal of the CCE
conviction by the Eleventh Circuit because the precise issue raised
in this petition was not addressed by the Eleventh Circuit on
direct appeal.2

Habeas corpus would be available to the inmate if “the
issues raised loore accuratelyl challenged. the execution. of the
sentence than its imposition.” Wright v. United States Bd. of
Parole, 557 F.2d_ 74, 78 (6th Cir. 1977). On the other hand,
“[s]ection 2255 . . . has been conceived to be limited to those

claims which arise from the imposition of the sentence as

 

2 ln an affidavit filed with his petition, Reed also seems to contend

that his conviction for distribution in Reed II violates double jeopardy because
of his conviction.for importation in Reed I. This argument was expressly rejected
by the Eleventh Circuit. United States v. Reedi 980 F.2d at 1581. This Court has
no authority to rule on issues addressed by the Eleventh Circuit on direct
appeal.

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distinguished from claims attacking the execution of the sentence.”
Id. at 77; cf. United States v. Jalili, 925 F.Zd 889, 893 (6th Cir.
1991) (“Because defendant Jalili is challenging the manner in which
the sentence is executed, rather than the validity of the sentence
itself, Section 2255 does not apply.”). For federal prisoners
seeking habeas-type relief, the only remedy is through a motion to
vacate pursuant to 28 U.S.C. § 2255. Charles v. Chandler, 180 F.3d
753, 755-56 (6th Cir. 1999) (per curiam); In re Hanserd, 123 F.3d
922, 933 (6th Cir. 1997).

Federal prisoners may obtain habeas corpus relief
pursuant to 28 U.S.C. § 2241 only under limited circumstances. The
fifth paragraph of § 2255, known as the “savings clause,” provides
as follows:

An application for a writ of habeas corpus in behalf

of a prisoner who is authorized to apply for relief by
motion.pursuant to this section, shall not be entertained
if it appears that the applicant has failed to apply for
relief, by motion, to the court which sentenced him, or
that such court has denied him relief, unless it also
appears that the remedy by' motion. is inadequate or
ineffective to test the legality of his detention.
28 U.S.C. § 2255. The petitioner carries the burden of
demonstrating that the savings clause applies. Charles, 180 F.3d at
756.

The Sixth Circuit has construed the savings clause
narrowly:

Significantly, the § 2255 remedy is not considered

inadequate or ineffective simply because § 2255 relief
has already been denied . .. , or because the petitioner

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is procedurally barred from pursuing relief under § 2255
. . , or because the petitioner has been denied
permission. to filee a second or successive lootion. to
vacate.

Charles, 180 F.3d at 756; see also Tripati v. Henman, 843 F.2d
1160, 1162 (9th Cir. 1988) (“A. remedy is not inadequate or
ineffective under section 2255 merely because the sentencing court
denied relief on the merits.”). Furthermore, the § 2255 remedy is
not inadequate or ineffective merely because, as here, the one-year
statute of limitations has expired. Charles, 180 F.3d at 758.
Subsequent to the decision in Charles, the Sixth Circuit
reemphasized the narrow scope of the savings clause:
The circumstances under which § 2255 is inadequate
and ineffective are narrow, for to construe § 2241 relief
much more liberally than § 2255 relief Would defeat the
purpose of the restrictions Congress placed on the filing
of successive petitions for collateral relief. . . . As
we explained in Charles, “[t]he remedy afforded under §
2241 is not an additional, alternative or supplemental
remedy to that prescribed under § 2255."
United States v. Peterman, 249 F.3d 458, 461 (6th Cir. 2001)
(quoting Charlesr 180 F.3d at 758)).3
Moreover, in order to obtain relief pursuant to 28 U.S.C.

§ 2241, the habeas petitioner must be “actually innocent” of the

crime of which he has been convicted. Martin v. Perez, 319 F.3d

 

 

3 See also Wofford v. Scott, 177 F.3d 1236, 1244 (11th Cir. 1999) (the
entire federal criminal procedure statutory scheme, encompassing trial, direct
appeal, and one opportunity for collateral review, ensures that “a petitioner
will have had ‘an unobstructed procedural shot at getting his sentence vacated.'

. That does not mean that he took the shot, or even that he or his attorney
recognized the shot was there for the taking. All the Constitution requires, if
it requires that much, is that the procedural Opportunity have existed.")
(quoting In re Davenport, 147 F.3d 605, 609 (7th Cir. 1998)).

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799, 804-05 (6th Cir. 2003); Charles, 180 F.3d at 757 (“No circuit
court has to date permitted a post-AEDPA petitioner who was not
effectively making a claim of ‘actual innocence' to utilize § 2241
(via § 2255's ‘savings clause') as a way of circumventing § 2255’s
restrictions on the filing of second or successive habeas
petitions.”); see also Peterman, 249 F.3d at 462 (“Without
determining the exact scope of the savings clause, we conclude that
defendants' claims do not fall within any arguable construction of
it because defendants have not shown an intervening change in the
law that establishes their actual innocence.”). “A petitioner must
show factual innocence, not mere legal insufficiency, to raise such
a claim." Gesuale v. Sanders, 63 Fed. Appx. 875, 876 (6th Cir. May
14, 2003); see also Bouslev v. United States, 523 U.S. 614, 623
(1998}.

In this case, the issues raised by Reed in his petition
were plainly available to him on direct appeal and when he filed
his first motion pursuant to 28 U.S.C. § 2255. Under these
circumstances, the § 2255 remedy is not inadequate or ineffective
and these issues cannot be raised in a petition pursuant to 28
U.S.C. § 2241.

As Reed is not entitled to invoke § 2241, “it appears
from the application that the applicant or person detained is not
entitledF to any relief. 28 U.S.C. § 2243. An order for the

respondent to show cause need not issue. The petition is DISMISSED.

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Appeals of habeas petitions under 28 U.S.C. § 2254 and
motions under 28 U.S.C. § 2255 are governed by 28 U.S.C. § 2253 and
require the district court to consider whether to issue a
certificate of appealability. Stanford v. Parker, 266 F.3d 342 (6th
Cir. 2001); Lyons v. Ohio Adult Parole Auth., 105 F.3d 1063 (6th
Cir. 1997). Section 2253 does not apply to habeas petitions by
federal prisoners under § 2241. Mclntosh v. United States Parole
Comm’n, 115 F.3d 809, 810 (10th Cir. 1997); Ojo v. Immigration &
Naturalization Serv., 106 F.3d 680, 681-82 (5th Cir. 1997);
Bradshaw v. Storv, 86 F.3d 164, 166 (10th Cir. 1996). Nevertheless,
a habeas petitioner seeking to appeal is still obligated to pay the
$255 filing fee required by 28 U.S.C. §§ 1913 and 1917. Under the
Prison Litigation Reform Act of 1995 (“PLRA”), 28 U.S.C. § 1915r it
is unclear how habeas petitioners establish a right to proceed ip
fg;ma pauperis and avoid this filing fee.

Although the Sixth Circuit has concluded that the various
filing fee payment requirements and good faith certifications of
amended § 1915 do not apply to § 2254 cases, it has not resolved
whether these requirements apply to § 2241 cases. §ipgad§;gg;
Sparkman, 117 F.3d 949, 951-52 (6th Cir. 1997); pig Mg§g;g_y;
Wrigglesworth, 114 F.3d 601 (6th Cir. 1997) (instructing courts
regarding proper PLRA procedures in prisoner civil-rights cases,

without mentioning § 2241 petitions).

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The Tenth Circuit, however, has held that the provisions
of the PLRA do not apply to habeas cases of any sort or to § 2255
motions. §§§ McIntosh, 115 F.3d at 810; United States v. Simmonds,
111 F.3d 737, 743 (10th Cir. 1997). An unpublished Sixth Circuit
opinion has adopted this approach in affirming a decision from this
district. Graham v. United States Parole Comm’n, No. 96-6725, 1997
WL 778515 (6th Cir. Dec. 8, 1997), aff’g Graham v. United States,
No. 96-3251-Tu (W.D. Tenn. Dec. 4, 1996). Because the Court finds
the reasoning of McIntosh persuasive, and because the Court finds
that this conclusion naturally follows from the Sixth Circuit's
decision in Kincade, the Court concludes that the PLRA does not
apply to § 2241 petitions. Cf. Greene v. Tennessee Dep't of
Corrections, 265 F.3d 369 (6th Cir. 2001) (certificate of
appealability requirement is applicable to state prisoner bringing
§ 2241 petition).
Pursuant to Kincader a petitioner must seek leave to

proceed ip fp;p§ pauperis from the district court under Fed. R.
App. P. 24(a), which provides:

A party to an action in a district court who desires to

proceed on appeal ip fp;pa pauperis shall file in the

district court a motion for leave to so proceed, together

with an affidavit, showing, in the detail prescribed by

Form.4 of the Appendix of Forms, the party's inability to

pay fees and costs or to give security therefor, the

party's belief that that party is entitled to redress,

and a statement of the issues which that party intends to
present on appeal.

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The Rule further requires the district court to certify in writing
whether the appeal is taken in good faith and to deny the
certificate if the appeal would be frivolous.

The good faith standard is an objective one. Coppedge v.

United States, 369 U.S. 438, 445 (1962). It would be inconsistent

 

for a district court to determine that a complaint does not warrant
service on the respondent, yet has sufficient merit to support an
appeal pp forma pauperis. See Williams v. Kullman, 722 F.2d 1048,
1050 n.l (2d Cir. 1983). The same considerations that lead the
Court to dismiss this petition also compel the conclusion that an
appeal would not be taken in good faith. lt is therefore CERTIFIED,
pursuant to Fed. R. App. P. 24(a), that any appeal in this matter

by Petitioner is not taken in good faith, and he may not proceed on

appeal pp forma pauperis.

lT IS SO ORDERED this § ii day of May, 2005.

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JO PHIPPS MCCALLA
TED STA'I'ES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 5 in
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Honorable J on McCalla
US DISTRICT COURT

